         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2022-2143
                   LT Case No. 2020-CA-001212
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MATTHEW WOZNIAK and HOLLY
WOZNIAK,

    Appellants,

    v.

JARED THIEL, LAUREN
MICHELLE THIEL, CANDY
HARVISON, and PILLAR REAL
ESTATE SERVICES, LLC d/b/a
PILLAR REALTY,

    Appellees.
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On appeal from the Circuit Court for St. Johns County.
Howard M. Maltz, Judge.

Preston H. Oughton, of Law Office of Preston H. Oughton,
Jacksonville, for Appellants.

Matthew T. Jackson and Alicia M. Kupcinskas, of Brennan Manna
Diamond P.L., Jacksonville, for Appellees.

                         August 20, 2024


PER CURIAM.

    AFFIRMED.
MAKAR, KILBANE, and PRATT, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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